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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION



NETWORK TALLAHASSEE, INC.,

             Plaintiff,

v.                                                 CASE NO. 4:10cv38-RH/WCS

EMBARQ CORPORATION et al.,

             Defendants.

_________________________________/


                            ORDER OF DISMISSAL


       The parties have stipulated for dismissal with prejudice. See ECF No. 161.

Accordingly,

       IT IS ORDERED:

       The clerk must enter judgment stating, “This case is dismissed with

prejudice under Federal Rule of Civil Procedure 41(a)(1).” The clerk must close

the file.

       SO ORDERED on July 18, 2011.

                                             s/Robert L. Hinkle
                                             United States District Judge
